Case 2:20-cv-02892-SHL-tmp Document 176-7 Filed 12/27/21 Page 1 of 20   PageID 2834




                             EXHIBIT 2
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        Case 2:20-cv-02892-SHL-tmp Document 176-7 Filed 12/27/21 Page 2 of 20                                        PageID 2835

                                                 VARSITY BRANDS HOLDING CO., INC.

                  Employee Confidentiality, Non-Solicitation, Non-Competition and Invention Assignment Agreement

             In consideration and as a condition of (a) my employment or continued employment by Varsity Brands Holding Co., Inc.
    (the “Company”) and/or any of its affiliates (the Company or any direct or indirect parent or subsidiary entity of the Company, a
    “Company Entity”) (b) my receipt on or about the date hereof of an award under the Varsity Brands Holding Co., Inc. Phantom Unit
    Plan (the “Phantom Plan”) and (c) my access to Proprietary Information (defined below), I agree as follows:

                                                                           be bound by the terms of such agreements in the event I have
    1.        Proprietary Information.           I agree that all          access to such proprietary information and know or would
    information, whether or not in writing, concerning the                 reasonably be expected to know of such agreements.
    Company       Entities’     business,   technology,     business
    relationships or financial affairs that the Company Entities           4.        Commitment to Company; Avoidance of Conflict
    have not released generally within the industry or industries in       of Interest. While an employee of the Company Entity, I will
    which they operate (collectively, “Proprietary Information”) is        devote my full-time efforts to the business of the Company
    and will be the exclusive property of the Company Entities.            Entities and I will not engage in any other business activity
    By way of illustration, Proprietary Information may include            that reasonably conflicts with my duties to the Company
    information or material which has not been made generally              Entities. I will advise the Board of Directors of the Company
    available to the public, such as: (a) corporate information,           or the president of the Company or his or her nominee at such
    including plans, strategies, methods, policies, resolutions,           time as any activity of either the Company Entities or another
    negotiations or litigation; (b) marketing information, including       business presents me with a conflict of interest or the
    strategies, methods, customer identities or other information          appearance of a conflict of interest as an employee of the
    about customers, prospect identities or other information about        Company Entity. Upon reasonable notice and an opportunity
    prospects, or market analyses or projections; (c) financial            to cure, I will take whatever action is reasonably requested of
    information, including cost and performance data, debt                 me by the Company to resolve any conflict or appearance of
    arrangements, equity structure, investors and holdings,                conflict which it finds to exist.
    purchasing and sales data and price lists; and (d) operational
    and technological information, including plans, specifications,        5.        Developments.       I will make full and prompt
    manuals, forms, templates, software, designs, methods,                 disclosure to the Company of all inventions, discoveries,
    procedures, formulas, discoveries, inventions, improvements,           designs,       developments,        methods,       modifications,
    concepts and ideas; and (e) personnel information, including           improvements, processes, algorithms, databases, computer
    personnel lists, reporting or organizational structure, resumes,       programs, formulae, techniques, trade secrets, mask works,
    personnel data, compensation structure, performance                    graphics or images, and audio or visual works and other works
    evaluations and termination arrangements or documents.                 of authorship (collectively “Developments”), whether or not
    Proprietary Information also includes information received in          patentable or copyrightable, that are created, made, conceived
    confidence by the Company Entities from their respective               or reduced to practice by me (alone or jointly with others) or
    customers or suppliers or other third parties.                         under my direction during the period of my employment. I
                                                                           acknowledge that all work performed by me is on a “work for
    2.       Recognition of Company’s Rights. I will not, at               hire” basis, and I hereby do assign and transfer and, to the
    any time, without the Company’s prior written permission,              extent any such assignment cannot be made at present, will
    either during or after my employment, disclose any                     assign and transfer, to the Company and its successors and
    Proprietary Information to anyone outside of the Company               assigns all my right, title and interest in all Developments that
    Entities, or use or permit to be used any Proprietary                  (a) relate to the business of any Company Entity or any
    Information for any purpose other than the performance of my           customer of or supplier to any Company Entity or any of the
    duties as an employee of the Company Entity; provided,                 products or services being researched, developed,
    however, in no case shall I disclose or provide any Proprietary        manufactured or sold by any Company Entity or which may
    Information in connection with, or as part of, any “expert             be used with such products or services; or (b) result from tasks
    network” interview with any third party. I will cooperate with         assigned to me by a Company Entity; or (c) result from the use
    the Company and use my best efforts to prevent the                     of premises or personal property (whether tangible or
    unauthorized disclosure of all Proprietary Information. I will         intangible) owned, leased or contracted for by the Company
    deliver to the Company all copies of Proprietary Information           Entity (“Company-Related Developments”), and all related
    in my possession or control upon the earlier of a request by the       patents, patent applications, trademarks and trademark
    Company or termination of my employment.                               applications, copyrights and copyright applications, and other
                                                                           intellectual property rights in all countries and territories
    3.       Rights of Others. I understand that the Company               worldwide and under any international conventions
    Entities are now and may hereafter be subject to non-                  (“Intellectual Property Rights”).
    disclosure or confidentiality agreements with third persons
    which require the Company Entities to protect or refrain from          To preclude any possible uncertainty, I have set forth on
    use of such third persons’ proprietary information. I agree to         Exhibit A attached hereto a complete list of Developments that

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        Case 2:20-cv-02892-SHL-tmp Document 176-7 Filed 12/27/21 Page 3 of 20                                         PageID 2836
    I have, alone or jointly with others, conceived, developed or           Company. Any property situated on a Company Entity’s
    reduced to practice prior to the commencement of my                     premises and owned by any Company Entity, including
    employment with a Company Entity that I consider to be my               without limitation computers, disks and other storage media,
    property or the property of third parties and that I wish to have       filing cabinets or other work areas, is subject to inspection by
    excluded from the scope of this Agreement (“Prior                       the Company at any time with or without notice. In the event
    Inventions”). If disclosure of any such Prior Invention would           of the termination of my employment for any reason, I will
    cause me to violate any prior confidentiality agreement, I              deliver to the Company all files, letters, notes, memoranda,
    understand that I am not to list such Prior Inventions in               reports, records, data, sketches, drawings, notebooks, layouts,
    Exhibit A but am only to disclose a cursory name for each               charts, quotations and proposals, specification sheets, program
    such invention, a listing of the party(ies) to whom it belongs          listings, blueprints, models, prototypes, or other written,
    and the fact that full disclosure as to such inventions has not         photographic or other tangible material containing Proprietary
    been made for that reason. I have also listed on Exhibit A all          Information, and other materials of any nature pertaining to
    patents and patent applications in which I am named as an               the Company or any Company Entity or to my work, and will
    inventor, other than those which have been assigned to the              not take or keep in my possession any of the foregoing or any
    Company (“Other Patent Rights”). If no such disclosure is               copies.
    attached, I represent that there are no Prior Inventions or Other
    Patent Rights. If, in the course of my employment with the              7.        Enforcement of Intellectual Property Rights. I
    Company, I incorporate a Prior Invention into a Company                 will cooperate fully with the Company, both during and after
    product, process or machine or other work done for the                  my employment with a Company Entity, with respect to the
    Company, I hereby grant to the Company a nonexclusive,                  procurement, maintenance and enforcement of Intellectual
    royalty-free, paid-up, irrevocable, worldwide license (with the         Property Rights in Company-Related Developments. I will
    full right to sublicense) to make, have made, modify, use, sell,        sign, both during and after the term of this Agreement, all
    offer for sale and import such Prior Invention.                         papers, including without limitation copyright applications,
    Notwithstanding the foregoing, I will not incorporate, or               patent applications, declarations, oaths, assignments of priority
    permit to be incorporated, Prior Inventions in any Company-             rights, and powers of attorney, which the Company may deem
    Related Development without the Company’s prior written                 necessary or desirable in order to protect its rights and
    consent.                                                                interests in any Company-Related Development. If the
                                                                            Company is unable, after reasonable effort, to secure my
    This Agreement does not obligate me to assign to the                    signature on any such papers, I hereby irrevocably designate
    Company any Development which, in the sole judgment of the              and appoint each officer of the Company as my agent and
    Company, reasonably exercised, is developed entirely on my              attorney-in-fact to execute any such papers on my behalf, and
    own time and does not relate to the business efforts or research        to take any and all actions as the Company may deem
    and development efforts in which, during the period of my               necessary or desirable in order to protect its rights and
    employment, the Company actually is engaged or reasonably               interests in any Company-Related Development.
    would be engaged, and does not result from the use of
    premises or equipment owned or leased by the Company.                   8.       Non-Competition and Non-Solicitation.
    However, I will also promptly disclose to the Company any
    such Developments for the purpose of determining whether                In order to protect the Company’s and the Company Entities’
    they qualify for such exclusion. I understand that to the extent        Proprietary Information and good will, during my employment
    this Agreement is required to be construed in accordance with           and for a period of twelve (12) months following the
    the laws of any state which precludes a requirement in an               termination of my employment for any reason, I will not
    employee agreement to assign certain classes of inventions              directly or indirectly, whether as owner, partner, shareholder,
    made by an employee, this paragraph 5 will be interpreted not           director, manager, consultant, agent, employee, co-venturer or
    to apply to any invention which a court rules and/or the                otherwise, engage, participate or invest in any business
    Company agrees falls within such classes. I also hereby waive           activity, anywhere in any Territory (as defined below), that
    all claims to any moral rights or other special rights which I          competes with any business (for profit or not-for-profit)
    may have or accrue in any Company-Related Developments.                 conducted or engaged in by any Company Entity or with any
                                                                            business that any Company Entity is considering conducting
    6.       Documents and Other Materials. I will keep and                 or engaging in, including, without limitation, (i) the design,
    maintain adequate and current records of all Proprietary                marketing or sales of cheerleader and dance team uniforms
    Information and Company-Related Developments developed                  and accessories and the design, operation or marketing or sales
    by me during my employment, which records will be available             of cheerleader and dance team camps, clinics, competitions or
    to and remain the sole property of the Company at all times.            tours, (ii) the manufacture, marketing or sales of class rings,
                                                                            recognition jewelry, yearbooks, caps, gowns and similar
    All files, letters, notes, memoranda, reports, records, data,           regalia, diplomas, announcements and related fine paper
    sketches, drawings, notebooks, layouts, charts, quotations and          products, digital printing and social media content related to
    proposals, specification sheets, program listings, blueprints,          any of the foregoing, including software applications or (iii)
    models, prototypes, or other written, photographic or other             the manufacture, sourcing, merchandising, designing,
    tangible material containing Proprietary Information, whether           marketing, licensing, distributing, selling or installing durable
    created by me or others, which come into my custody or                  or non-durable products related to sports, physical activity or
    possession, are the exclusive property of the Company to be             leisure activity, including, without limitation, equipment,
    used by me only in the performance of my duties for the                 apparel, games, toys, uniforms, soft goods, hard goods,

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        Case 2:20-cv-02892-SHL-tmp Document 176-7 Filed 12/27/21 Page 4 of 20                                        PageID 2837
    physical education products and/or supplies; provided that this         to the Company or induce the Company to use any
    shall not prohibit any possible investment in publicly traded           confidential or proprietary information or material belonging
    stock of a company representing less than one percent of the            to any previous employer or others.
    stock of such company. In addition, during my employment
    and for a period of twelve (12) months following the                    11.       Remedies Upon Breach.         I understand that the
    termination of my employment for any reason, I will not,                restrictions contained in this Agreement are necessary for the
    directly or indirectly, or by action in concert with others (a)         protection of the business and goodwill of the Company and I
    hire, solicit, entice or attempt to persuade any other employee         consider them to be reasonable for such purpose. Any breach
    or consultant of the Company Entities to leave the Company              of this Agreement is likely to cause the Company substantial
    Entities for any reason or otherwise participate in or facilitate       and irrevocable damage and therefore, in the event of such
    the hire, directly or through another entity, of any person who         breach, the Company, in addition to such other remedies
    is employed or engaged by any Company Entity or who was                 which may be available, will be entitled to specific
    employed or engaged by any Company Entity within one (1)                performance and other injunctive relief, without the posting of
    year of any attempt to hire such person, and/or (b) call upon,          a bond. If I violate this Agreement, in addition to all other
    solicit, divert, take away, accept or conduct any business from         remedies available to the Company at law, in equity, and
    or with any of the individual and/or institutional customers or         under contract, I agree that I am obligated to pay all the
    prospective customers of the Company or any of its suppliers.           Company’s attorneys’ fees and expenses in connection with
    I acknowledge and agree that if I violate any of the provisions         any enforcement action by the Company against me in which
    of this paragraph 8, the running of the applicable period will          the Company is the prevailing party and the Company shall
    be extended by the time during which I engage in such                   pay all of my attorney’s fees and expenses in connection with
    violation(s). “Territory” means any country, state, county,             any enforcement action by me against the Company in which I
    city or other territory or jurisdiction in which any Company            am the prevailing party.
    Entity is actively engaged in, or conducting, business or has an
    interest in a business entity which is actively engaged in, or          12.       Publications and Public Statements. I will obtain
    conducting, business; provided, however, that I understand              the Company’s written approval before publishing or
    that in connection with the termination of my employment,               submitting for publication any material that relates to my work
    Territory shall only include such countries, states, counties,          at the Company and/or incorporates any Proprietary
    cities or other territories or jurisdictions in which any               Information.      To ensure that the Company delivers a
    Company Entity is actively engaged in, or conducting,                   consistent message about its products, services and operations
    business or has an interest in a business entity which is               to the public, and further in recognition that even positive
    actively engaged in, or conducting, business as of the date of          statements may have a detrimental effect on the Company in
    the termination of my employment.                                       certain securities transactions and other contexts, any
                                                                            statement about the Company which I create, publish or post
    9.        Government Contracts. I acknowledge that the                  during my period of employment and for six (6) months
    Company may have from time to time agreements with other                thereafter, on any media accessible by the public, including
    persons or with the United States Government or its agencies            but not limited to social media and networking services and
    which impose obligations or restrictions on the Company                 sites, electronic bulletin boards and Internet-based chat rooms,
    regarding inventions made during the course of work under               must first be reviewed and approved by an officer of the
    such agreements or regarding the confidential nature of such            Company before it is released in the public domain.
    work. I agree to comply with any such obligations or
    restrictions upon the direction of the Company. In addition to          13.       No Employment Obligation. I understand that this
    the rights assigned under paragraph 5, I also assign to the             Agreement does not create an obligation on the Company or
    Company (or any of its nominees) all rights which I have or             any other person to continue my employment. I acknowledge
    acquired in any Developments, full title to which is required to        that, unless otherwise agreed in a formal written employment
    be in the United States under any contract between the                  agreement signed on behalf of the Company by an authorized
    Company and the United States or any of its agencies.                   officer, my employment with the Company is at will and
                                                                            therefore may be terminated by the Company or me at any
    10.       Prior Agreements. I hereby represent that, except as          time and for any reason, with or without cause.
    I have fully disclosed previously in writing to the Company, I
    am not bound by the terms of any agreement with any                     14.       Survival and Assignment by the Company. I
    previous employer or other party to refrain from using or               understand that my obligations under this Agreement will
    disclosing any trade secret or confidential or proprietary              continue in accordance with its express terms regardless of
    information in the course of my employment with the                     any changes in my title, position, duties, salary, compensation
    Company or to refrain from competing, directly or indirectly,           or benefits or other terms and conditions of employment. I
    with the business of such previous employer or any other                further understand that my obligations under this Agreement
    party, or to refrain from soliciting any previous employer’s or         will continue following the termination of my employment
    other party’s employees or customers. I further represent that          regardless of the manner of such termination and will be
    my performance of all the terms of this Agreement as an                 binding upon my heirs, executors and administrators. The
    employee of the Company does not and will not breach any                Company will have the right to assign this Agreement to its
    agreement to keep in confidence proprietary information,                affiliates, successors and assigns. I expressly consent to be
    knowledge or data acquired by me in confidence or in trust              bound by the provisions of this Agreement for the benefit of
    prior to my employment with the Company. I will not disclose            the Company or any Company Entity or any of their

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        Case 2:20-cv-02892-SHL-tmp Document 176-7 Filed 12/27/21 Page 5 of 20   PageID 2838
    respective parents, subsidiaries or affiliates to whose employ I
    may be transferred without the necessity that this Agreement
    be resigned at the time of such transfer.

    15.      Exit Interview. If and when I depart from the
    Company, I may be required to attend an exit interview and
    sign an “Employee Exit Acknowledgement” to reaffirm my
    acceptance and acknowledgement of the obligations set forth
    in this Agreement. For twelve (12) months following
    termination of my employment, I will notify the Company of
    any change in my address and of each subsequent employment
    or business activity, including the name and address of my
    employer or other post-Company employment plans and the
    nature of my activities.

    16.       Severability. In case any provisions (or portions
    thereof) contained in this Agreement shall, for any reason, be
    held invalid, illegal or unenforceable in any respect, such
    invalidity, illegality or unenforceability shall not affect the
    other provisions of this Agreement, and this Agreement shall
    be construed as if such invalid, illegal or unenforceable
    provision had never been contained herein. If, moreover, any
    one or more of the provisions contained in this Agreement
    shall for any reason be held to be excessively broad as to
    duration, geographical scope, activity or subject, it shall be
    construed by limiting and reducing it, so as to be enforceable
    to the extent compatible with the applicable law as it shall then
    appear.

    17.      Interpretation. This Agreement will be deemed to
    be made and entered into inTennessee, and will in all respects
    be interpreted, enforced and governed under the laws of the
    Tennessee. I hereby agree to consent to personal jurisdiction
    of the state and federal courts situated within Tennessee for
    purposes of enforcing this Agreement, and waive any
    objection that I might have to personal jurisdiction or venue in
    those courts.

    18.       Integration. I hereby acknowledge and agree that
    my obligations under this Agreement are in addition and
    supplementary to any prior understandings and agreements
    between me and any Company Entity relating to the subject
    matter hereof, including without limitation any other prior
    understandings and agreements with any Company Entity
    relating to confidentiality and restrictive covenant obligations.
    This Agreement and any other confidentiality and restrictive
    covenant obligations I have to any Company Entity shall be
    interpreted and enforced together so that the maximum
    restriction applies.




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        Case 2:20-cv-02892-SHL-tmp Document 176-7 Filed 12/27/21 Page 6 of 20                                 PageID 2839
          I UNDERSTAND THAT THIS AGREEMENT AFFECTS IMPORTANT RIGHTS. BY SIGNING BELOW, I
    CERTIFY THAT I HAVE READ IT CAREFULLY AND AM SATISFIED THAT I UNDERSTAND IT COMPLETELY.

            IN WITNESS WHEREOF, the undersigned has executed this agreement as a sealed instrument as of the date set forth below.
               — DocuSigned by:
               MjMaMJL [Aik
    Signed: __________________________________________________________
                D834EAABBDC5487...




    Type or print name: Marlene Cota
            
    Date: __________________

    State of Residence: ____________________




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          Case 2:20-cv-02892-SHL-tmp Document 176-7 Filed 12/27/21 Page 7 of 20                                          PageID 2840
                                                                 EXHIBIT A



    To:      Varsity Brands Holding Co., Inc.
               
    From:    ____________________
            
    Date: _____________________

    SUBJECT:          Prior Inventions

           The following is a complete list of all inventions or improvements relevant to the subject matter of my employment by the
    Company that have been made or conceived or first reduced to practice by me alone or jointly with others prior to my engagement by
    the Company:

                      No inventions or improvements

                      See below:

                      _______________________________________________________________

                      _______________________________________________________________

                      _______________________________________________________________

                      Additional sheets attached

             The following is a list of all patents and patent applications in which I have been named as an inventor:

                      None

                      See below:

                      _______________________________________________________________

                      _______________________________________________________________

                      _______________________________________________________________




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        Case 2:20-cv-02892-SHL-tmp Document 176-7 Filed 12/27/21 Page 8 of 20                       PageID 2841




                                                     Performance Vesting
                                                      Award Agreement
                                                          under the
                                               Varsity Brands Holding Co., Inc.
                                                      Phantom Unit Plan

            Name of Participant:                      Marlene Cota (the “Participant”)

            Number of Units:

            Per-Unit Distribution Threshold: (see Section 2, below)

            Aggregate Distribution Threshold: (see Section 2, below)

            Award Date:                               December 15, 2014

            Award Expiration Date:                    December 14, 2024

            Company Parent Common Stock Factor: N/A

            HJ Parent Common Stock Factor: N/A


                    Pursuant to the Varsity Brands Holding Co., Inc. Phantom Unit Plan (as amended from
            time to time, the “Plan”), Varsity Brands Holding Co., Inc. (together with all successors thereto,
            the “Company”), hereby awards to the Participant named above the number of Units specified
            above. Capitalized terms used but not defined herein shall have the meanings given to such
            terms in the Plan, and this Award Agreement shall be subject to and governed by all the terms
            and conditions of the Plan in all respects. The applicable Per-Unit Distribution Threshold,
            Aggregate Distribution Threshold and number of Units shall be subject to adjustment in
            accordance with the terms and conditions of the Plan. This Award and the Participant’s rights
            hereunder shall terminate and expire on the Award Expiration Date.

                    This award of Units under the Plan is conditioned upon the Participant’s execution
            and delivery to the Company of a confidentiality, non-competition, non-solicitation and
            assignment of rights/inventions agreement in the form provided by the Company (the
            “Confidentiality Agreement”). The Confidentiality Agreement addresses confidentiality of
            Company information, post-employment restrictions on solicitation of employees and
            customers or clients and other similar matters and should be reviewed carefully by the
            Participant. If the Participant has not or does not execute the Confidentiality Agreement and
            deliver the Confidentiality Agreement to the Company within 30 days of the Award Date, the
            Participant shall forfeit all Units awarded hereunder.
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        Case 2:20-cv-02892-SHL-tmp Document 176-7 Filed 12/27/21 Page 9 of 20                          PageID 2842




                    1.     Definitions. For the purposes of this Agreement, the following terms shall have
            the following respective meanings.

                           (a)     “Aggregate Investment” means $300,000,000, increased by the amount of
            any additional equity contribution and/or investment made by the Investors to or with respect to
            the Company Parent or HJ Parent after the Award Date.

                           (b)     “Investor Liquidation Event” means any event (including but not limited
            to any Distribution, Sale Event, sale of securities in an Initial Public Offering or other public
            offering, non-public sale of securities or other liquidity event) as a result of which the Investors
            receive Proceeds from the Company Parent, HJ Parent or from a third party in respect of
            Company Parent Common Stock or HJ Parent Common Stock beneficially owned by the
            Investors.

                           (c)    “Investors” means Charlesbank Equity Fund VII Limited Partnership,
            Charlesbank Offshore Equity Fund VII, L.P., Charlesbank Parallel Fund VII Limited
            Partnership, Charlesbank Equity Coinvestment Fund VII Limited Partnership, Charlesbank
            Equity Fund VIII Limited Partnership, Charlesbank Offshore Equity Fund VIII, L.P.,
            Charlesbank Parallel Fund VIII Limited Partnership and Charlesbank Equity Coinvestment Fund
            VIII Limited Partnership.

                           (d)     “IRR” means the discount rate (expressed as an annualized percentage
            rounded to the nearest three decimal places and compounded on an annual basis in accordance
            with accepted financial practice) which, when used to calculate the net present value, as of
            December 12, 2014, of the difference between (i) all Proceeds received by the Investors from all
            Investor Liquidation Events (taking into account the date of receipt) minus (ii) the Aggregate
            Investment (taking into account the date such investment(s) is (are) made), causes such net
            present value to equal zero ($0). The “XIRR” function of Microsoft Excel may be used to
            determine net present value under this definition.

                           (e)     “Liquid Securities” means freely tradable securities of a company listed on
            the Nasdaq Global Market or the New York Stock Exchange having a public float with a market
            value in excess of $3,000,000,000.

                          (f)      “Performance Hurdle” means, as of the date of any Investor Liquidation
            Event, an IRR of at least 15 percent on the Aggregate Investment.

                             (g)    “Proceeds” means any amounts actually paid to an Investor in respect of
            Company Parent Common Stock and/or HJ Parent Common Stock to the extent such amounts
            consist of cash and/or Liquid Securities. For purposes of this Agreement, to the extent Proceeds
            consist of Liquid Securities, such proceeds shall be valued (i) using the same methodology set
            forth in definitive documentation governing the applicable Investor Liquidation Event or (ii) if
            there is no such methodology, using the average of the closing prices of the Liquid Securities
            over the 30-day period ending three (3) days prior to the consummation of such Investor
            Liquidation Event. For the avoidance of doubt, Proceeds shall not include any cash or non-cash
            proceeds (including Liquid Securities) paid to an Investor by the Company Parent or HJ Parent
            or any third party (as applicable) that are not directly in respect of Company Parent Common

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           Case 2:20-cv-02892-SHL-tmp Document 176-7 Filed 12/27/21 Page 10 of 20                       PageID
                                               2843



            Stock or HJ Parent Common Stock beneficially owned by such Investor (such as management
            fees, consulting fees, repayment of debt or reimbursement of expenses).

                   2.      Per-Unit Distribution Threshold and Aggregate Distribution Threshold. 50
            percent of the Units awarded hereunder shall have an Aggregate Distribution Threshold equal to
            $803,302,500 and a Per-Unit Distribution Threshold equal to $1.956986102. The remaining 50
            percent of the Units awarded hereunder shall have an Aggregate Distribution Threshold equal to
            $1,147,575,000 and a Per-Unit Distribution Threshold equal to $2.795694431.

                    3.      Vesting and Settlement of Units. The Units awarded hereunder shall be eligible
            to vest if and only to the extent that the Performance Hurdle is achieved as of the Vesting Date,
            subject to the Participant’s continued employment or other service relationship with the
            Company through the Vesting Date. Units that vest on the Vesting Date shall be settled in
            accordance with Section 7 of the Plan. Units that do not vest on the Vesting Date shall terminate
            without payment of consideration therefor. Satisfaction of the Performance Hurdle is a
            Secondary Vesting Condition under the Plan.

                    4.      Termination of Employment or Service Relationship. Unless otherwise
            determined by the Administrator in its sole discretion, if the Participant’s employment or other
            service relationship with the Company or its subsidiaries terminates for any reason, including by
            reason of the Participant’s death or disability, prior to the Vesting Date, the Participant shall
            immediately forfeit, without payment of consideration, any and all Units granted hereunder.

                    5.       Additional Payments. Within 30 days of any payment under the Plan pursuant
            to Sections 7 and/or 8.1 of the Plan with respect to the Units granted hereunder (but in any event,
            within the same calendar year in which such payment is made to the Participant), the Participant
            shall be entitled to an amount (a “Gross-Up Payment”) equal to (i) (A) the amount of U.S.
            income taxes imposed on the Participant in respect of such payment, less (B) the hypothetical
            amount of U.S. income taxes that would have been imposed on the Participant in respect of such
            payment had such payment been taxed at applicable capital gains rates, plus (ii) the amount of
            any U.S. income taxes imposed on the Participant in respect of the amount received under clause
            (i) and this clause (ii). For purposes of determining the amount of the Gross-Up Payments, the
            Participant shall be deemed to pay U.S. federal income tax at the highest marginal ordinary or
            capital gains tax rate, as applicable, in the calendar year in which the Gross-Up Payment is to be
            made and U.S. state and local income taxes at the highest marginal tax rate in the state and
            locality of the Participant’s residence for income tax purposes on the date the Gross-Up Payment
            is made, net of the maximum reduction in U.S. federal income taxes that may be obtained from
            the deduction of such U.S. state and local taxes. For purposes of determining the amount in
            clause (i)(B) above, the applicable capital gains rate (including long-term or short-term) shall be
            determined by reference to the number of days beginning on the day immediately following the
            Award Date through and including the date on which the applicable payment is paid to the
            Participant. Further, for purposes of clarification and for purposes of determining the amount of
            the Gross-Up Payment, the term “U.S. income taxes” shall not include any tax imposed by Code
            sections 1411 or 3101.

                   6.      Confidentiality. As a condition to the award, the Participant agrees to keep the
            existence and terms of this Award Agreement in the strictest confidence and not reveal this

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            information to any persons other than the Participant’s spouse or financial advisor. Failure to
            comply with the confidentiality requirement will result in forfeiture of the Units hereunder.

                   7.      Non-Transferability of Units. This Award Agreement and the Units granted
            hereunder are personal to the Participant and are not transferable or assignable by the Participant.

                    8.     Incorporation of Plan. This Award Agreement shall be subject to and governed
            by the terms and conditions of the Plan. In the event of any discrepancy or inconsistency
            between this Award Agreement and the Plan, the terms and conditions of the Plan shall control.

                   9.      Withholding Taxes. Participant shall, not later than the date as of which any
            payment hereunder or under the Plan becomes a taxable event for United States Federal income
            tax purposes, to the extent necessary, pay to the Company or make arrangements satisfactory to
            the Company for payment of any United States Federal and local taxes required by law to be
            withheld on account of such taxable event. Participant acknowledges and agrees that the
            Company has the right to deduct from all payments hereunder any taxes required by law to be
            withheld with respect to such payments.

                    10.     Additional Limitation. Anything in this Agreement or in the Plan to the contrary
            notwithstanding, in the event that any compensation, payment or distribution by the Company to
            or for the benefit of the Participant, whether paid or payable or distributed or distributable
            pursuant to the terms of the this Agreement, the Plan or otherwise (the “Parachute Payments”),
            would be subject to the excise tax imposed by Section 4999 of the Code, then (a) any amounts
            payable to the Participant under this Plan shall be reduced (but not below zero) to the extent
            necessary so that the maximum Parachute Payments shall not exceed the Threshold Amount (the
            “Reduction Amount”) and (b) the Company shall use reasonable efforts to satisfy the shareholder
            approval requirements set forth in Q/A 7 of Treasury Regulations Section 1.280G-1 with respect
            to such Reduction Amount, and if such requirements are satisfied then such Reduction Amount
            shall become payable hereunder as if subsection (a) above had not applied thereto. For purposes
            of this Section, “Threshold Amount” shall mean three times the Participant’s “base amount”
            within the meaning of Section 280G(b)(3) of the Code and the regulations thereunder, less one
            dollar.

                     11.     Miscellaneous Provisions.

                           (a)    Change and Modifications. This Award Agreement may not be orally
            changed, modified or terminated, nor shall any oral waiver of any of its terms be effective. This
            Award Agreement may be changed, modified or terminated only by an agreement in writing
            signed by the Company and the Participant.

                           (b)     Entire Agreement. This Award Agreement together with the Plan (the
            terms of which are hereby incorporated by reference) are intended to be a final expression of the
            agreement between the Participant and the Company and are intended to be a complete and
            exclusive statement of the agreement and understanding between the Participant and the
            Company with respect to the subject matter contained herein. There are no restrictions,
            promises, representations, warranties, covenants or undertakings relating to such subject matter
            other than those referred to herein and in the Plan.

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                            (c)      No Obligation to Continue Employment or Service. Neither the
            Company, HJ nor any of their subsidiaries is obligated by or as a result of the Plan or this Award
            Agreement to continue the Participant in employment or other service and neither the Plan nor
            this Award Agreement shall interfere in any way with the right of the Company, HJ or any of
            their subsidiaries to terminate the employment or service of the Participant at any time.

                           (d)     Governing Law. This Award Agreement shall be governed by and
            construed in accordance with the laws of the State of Delaware, without regard to principles of
            conflict of laws of such state.

                           (e)     Headings. The headings are intended only for convenience in finding the
            subject matter and do not constitute part of the text of this Award Agreement and shall not be
            considered in the interpretation of this Award Agreement.

                            (f)     Saving Clause. If any provision(s) of this Award Agreement shall be
            determined to be illegal or unenforceable, such determination shall in no manner affect the
            legality or enforceability of any other provision hereof.

                           (g)     Counterparts. This Award Agreement may be executed in two or more
            counterparts, each of which shall be deemed an original, and all of which shall constitute one and
            the same document.




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                   The foregoing Award Agreement is hereby accepted and the terms and conditions thereof
            hereby agreed to by the undersigned as of the date first above written.

                                                                    VARSITY BRANDS HOLDING CO., INC.
                                                                            — DocuSigned by:

                                                                                        MikM
                                                                    By: ___________________________________
                                                                           F08' 56E00CB14B7...

                                                                        Name:               
                                                                        Title:    

                                                                    Address:

                                                                    Varsity Brands Holding Co. Inc.
                                                                    4625 West 62nd Street
                                                                    Indianapolis, Indiana 46268


                   The foregoing Award Agreement is hereby accepted and the terms and conditions thereof
            hereby agreed to by the undersigned as of the date first above written.

                                                                    PARTICIPANT:
                                                                    — DocuSigned by:

                                                                     /Wioo- id&
                                                                    _______________________________________
                                                                      D834EAAB8DC5487...
                                                                    Name: Marlene Cota

                                                                    Address:



                                                                    _______________________________________

                                                                    _______________________________________




                                            [SIGNATURE PAGE TO COTA PERFORMANCE AWARD GRANT]
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           Case 2:20-cv-02892-SHL-tmp Document 176-7 Filed 12/27/21 Page 14 of 20                      PageID
                                               2847



                                                        Time Vesting
                                                      Award Agreement
                                                          under the
                                               Varsity Brands Holding Co., Inc.
                                                      Phantom Unit Plan

            Name of Participant:                      Marlene Cota (the “Participant”)

            Number of Units:

            Per-Unit Distribution Threshold: $1.118277772

            Aggregate Distribution Threshold: $459,030,000

            Award Date:                               December 15, 2014

            Award Expiration Date:                    December 14, 2024

            Company Parent Common Stock Factor: N/A

            HJ Parent Common Stock Factor: N/A


                    Pursuant to the Varsity Brands Holding Co., Inc. Phantom Unit Plan (as amended from
            time to time, the “Plan”), Varsity Brands Holding Co., Inc. (together with all successors thereto,
            the “Company”), hereby awards to the Participant named above the number of Units specified
            above. Capitalized terms used but not defined herein shall have the meanings given to such
            terms in the Plan, and this Award Agreement shall be subject to and governed by all the terms
            and conditions of the Plan in all respects. The Per-Unit Distribution Threshold, the Aggregate
            Distribution Threshold and number of Units shall be subject to adjustment in accordance with the
            terms and conditions of the Plan. This Award and the Participant’s rights hereunder shall
            terminate and expire on the Award Expiration Date.

                    This award of Units under the Plan is conditioned upon the Participant’s execution
            and delivery to the Company of a confidentiality, non-competition, non-solicitation and
            assignment of rights/inventions agreement in the form provided by the Company (the
            “Confidentiality Agreement”). The Confidentiality Agreement addresses confidentiality of
            Company information, post-employment restrictions on solicitation of employees and
            customers or clients and other similar matters and should be reviewed carefully by the
            Participant. If the Participant has not or does not execute the Confidentiality Agreement and
            deliver the Confidentiality Agreement to the Company within 30 days of the Award Date, the
            Participant shall forfeit all Units awarded hereunder.

                    1.     Definitions. For the purposes of this Agreement, the following terms shall have
            the following respective meanings.

                          (a)   “Cause” for any Participant has the meaning set forth in a written
            agreement between such Participant and the Company or any subsidiary of the Company. If
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           Case 2:20-cv-02892-SHL-tmp Document 176-7 Filed 12/27/21 Page 15 of 20                        PageID
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            there is no such agreement or definition, “Cause” means if the Board shall determine in good
            faith that the Participant has (i) demonstrated continued incompetence or dereliction of his or her
            duties, including unsatisfactory attendance, as determined by the Board; (ii) committed a
            material violation of the rules, regulations and/or procedures related to the conduct of employees
            of the Company or any of its subsidiaries (only after written notice has been provided, and the
            Participant has failed or refused to cure the deficiencies within a reasonable, prescribed period of
            time (provided, however, that a Participant shall only be entitled to one such notice and
            opportunity to cure)); (c) breached any fiduciary obligation owed to the Company or any of its
            subsidiaries; or (d) been indicted or convicted of a felony or other crime involving moral
            turpitude.

                             (b)    “Good Reason” means the Participant has complied with the Good Reason
            Process following the occurrence of any of the following events: (i) a material adverse change in
            the nature or scope of the Participant’s responsibilities, authorities, powers, functions or duties;
            (ii) a material reduction in the Participant’s annual base salary except for across-the-board salary
            reductions similarly affecting all or substantially all similarly-situated employees; or (iii) the
            relocation of the office at which the Participant is principally employed to a location more than
            50 miles from such office (each, a “Good Reason Condition”).

                             (c)    “Good Reason Process” means: (i) the Participant determines in good faith
            that a Good Reason Condition has occurred; (ii) the Participant notifies the Company in writing
            of the occurrence of the Good Reason Condition within 60 days of the occurrence of such
            condition; (iii) the Participant provides the Company with a period not less than 30 days
            following such notice to cure the Good Reason Condition; (iv) notwithstanding such efforts, the
            Good Reason Condition continues to exist; and (v) the Participant terminates employment within
            60 days after the end of the period to cure such Good Reason Condition. If the Company cures
            the Good Reason Condition during the 30-day period, Good Reason shall be deemed not to have
            occurred.

                            (d)     “Secondary Time-Vested Percentage” means (i) zero percent prior to the
            first anniversary of the Award Date, (ii) 20 percent, on or after the first anniversary of the Award
            Date and prior to the second anniversary of the Award Date, (ii) 40 percent, on or after the
            second anniversary of the Award Date and prior to the third anniversary of the Award Date, (iii)
            60 percent on or after the third anniversary of the Award Date and prior to the fourth anniversary
            of the Award Date, (iv) 80 percent on or after the fourth anniversary of the Award Date and prior
            to the fifth anniversary of the Award Date and (v) 100 percent on or after the fifth anniversary of
            the Award Date.

                     2.      Vesting and Settlement of Units.

                            (a)     Except as provided herein, the Units awarded hereunder shall vest (and the
            Secondary Vesting Condition shall be deemed satisfied) on the Vesting Date in accordance with
            and pursuant to Section 6 of the Plan, subject to the Participant’s continued employment or other
            service relationship with the Company through the Vesting Date. Units that vest on the Vesting
            Date shall be settled in accordance with Section 7 of the Plan.



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           Case 2:20-cv-02892-SHL-tmp Document 176-7 Filed 12/27/21 Page 16 of 20                       PageID
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                           (b)     Notwithstanding the definition of “Per-Unit Value” set forth in the Plan, if
            the Vesting Date occurs prior to and not in conjunction with an HJ Parent Sale Event, then the
            Per-Unit Value as of the Vesting Date for purposes of the Units awarded hereunder shall be (i)
            the sum of (x) (1) the Company Parent Common Stock Value multiplied by (2) the Company
            Parent Common Stock Factor and (y) the product of (1) the HJ Parent Common Stock Value and
            (2) the HJ Parent Common Stock Factor multiplied by the Secondary Time-Vesting Percentage
            as of such date, minus (ii) the Per-Unit Distribution Threshold.

                           (c)     For the purposes the Plan, the Secondary Time-Vested Percentage is a
            Secondary Vesting Condition for determining any Units granted pursuant to this Agreement that
            may be eligible to receive payments pursuant to Section 8 of the Plan.

                     3.      Termination of Employment or Service Relationship.

                            (a)     Subject to Section 3(b), below and unless otherwise determined by the
            Administrator in its sole discretion, if the Participant’s employment or other service relationship
            with the Company or its subsidiaries terminates for any reason, including by reason of the
            Participant’s death or disability or in connection with such Participant’s breach of the
            Confidentiality Agreement or any of such Participant’s obligations under any other
            confidentiality, inventions and assignment, non-competition and/or non-solicitation agreement in
            effect between the Participant and the Company or any of its subsidiaries (such termination in
            connection with such breach, a “Breach Termination”), prior to the Vesting Date, the Participant
            shall immediately forfeit, without payment of consideration, any and all Units granted hereunder.

                             (b)    Notwithstanding Section 3(a), above, in the event that the Participant’s
            employment or other service relationship with the Company or its subsidiaries is terminated
            either (i) by the Company without Cause (other than in connection with a Breach Termination
            which will be governed by Section 3(a) above) or (ii) by the Participant with Good Reason, then
            subject to the Participant signing a separation agreement containing, among other provisions, a
            general release of claims in favor of the Company and its Affiliates, confidentiality, return of
            property and non-disparagement, in a form and manner satisfactory to the Company (the
            “Separation Agreement and Release”) and the Separation Agreement and Release becoming
            irrevocable, all within 60 days after the date of the Participant’s termination, the Company shall
            pay to the Participant a lump-sum amount in cash, subject to the proviso below, equal to the
            product of (x) (i) the number of Units awarded hereunder, multiplied by (ii) the Secondary Time-
            Vested Percentage and (z) the Per-Unit Value as of the date of such termination (the
            “Termination Value”); provided, however, that in lieu of paying the Participant the Termination
            Value in cash, the Administrator, in its sole discretion, may instead elect to pay the Participant
            some or all of the Termination Value in the form of shares of Company Parent Common Stock
            and/or HJ Parent Common Stock that have an aggregate Company Parent Common Stock Value
            or HJ Parent Common Stock Value (as applicable) equal to the applicable portion of the
            Termination Value being paid in shares of Company Parent Common Stock or HJ Parent
            Common Stock as of the date of such termination of employment or service (and as a
            requirement to the receipt of such shares of Company Parent Common Stock such Participant
            shall be required to execute and become a party to the Stockholders Agreement of the Company
            Parent and/or HJ Parent). Such payment shall be made on the first regular payroll date of the
            Company that is 60 days after the date of such qualifying termination of employment or service.

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           Case 2:20-cv-02892-SHL-tmp Document 176-7 Filed 12/27/21 Page 17 of 20                        PageID
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                     4.      Additional Payments.

                            (a)     The Participant shall be eligible to receive the payments described in
            Section 8 of the Plan, if any, with respect to such number of Units equal to (i) the number of
            Units awarded hereunder, multiplied by (ii) the Secondary Time-Vested Percentage applicable as
            of the date such payments are made, subject to the Participant’s continued employment or
            service relationship through the applicable date(s) specified in Section 8 of the Plan.

                              (b)   Within 30 days of any payment under the Plan pursuant to Section 7 or
            Section 8.1 of the Plan or Section 3 of this Agreement with respect to the Units granted
            hereunder (but in any event, within the same calendar year in which such payment is made to the
            Participant), the Participant shall be entitled to an amount (a “Gross-Up Payment”) equal to (i)
            (A) the amount of U.S. income taxes imposed on the Participant in respect of such payment, less
            (B) the hypothetical amount of U.S. income taxes that would have been imposed on the
            Participant in respect of such payment had such payment been taxed at applicable capital gains
            rates, plus (ii) the amount of any U.S. income taxes imposed on the Participant in respect of the
            amount received under clause (i) and this clause (ii). For purposes of determining the amount of
            the Gross-Up Payments, the Participant shall be deemed to pay U.S. federal income tax at the
            highest marginal ordinary or capital gains tax rate, as applicable, in the calendar year in which
            the Gross-Up Payment is to be made and U.S. state and local income taxes at the highest
            marginal tax rate in the state and locality of the Participant’s residence for income tax purposes
            on the date the Gross-Up Payment is made, net of the maximum reduction in U.S. federal income
            taxes that may be obtained from the deduction of such U.S. state and local taxes. For purposes
            of determining the amount in clause (b)(i)(B) above, the applicable capital gains rate (including
            long-term or short-term) shall be determined by reference to the number of days beginning on
            the day immediately following the Award Date through and including the date on which the
            applicable payment is paid to the Participant. Further, for purposes of clarification and for
            purposes of determining the amount of the Gross-Up Payment, the term “U.S. income taxes”
            shall not include any tax imposed by Code sections 1411 or 3101.

                   5.      Confidentiality. As a condition to the award, the Participant agrees to keep the
            existence and terms of this Award Agreement in the strictest confidence and not reveal this
            information to any persons other than the Participant’s spouse or financial advisor. Failure to
            comply with the confidentiality requirement will result in forfeiture of the Units hereunder.

                   6.      Non-Transferability of Units. This Award Agreement and the Units granted
            hereunder are personal to the Participant and are not transferable or assignable by the Participant.

                    7.     Incorporation of Plan. This Award Agreement shall be subject to and governed
            by the terms and conditions of the Plan. In the event of any discrepancy or inconsistency
            between this Award Agreement and the Plan, the terms and conditions of the Plan shall control.

                   8.      Withholding Taxes. Participant shall, not later than the date as of which any
            payment hereunder or under the Plan becomes a taxable event for United States Federal income
            tax purposes, to the extent necessary, pay to the Company or make arrangements satisfactory to
            the Company for payment of any United States Federal and local taxes required by law to be
            withheld on account of such taxable event. Participant acknowledges and agrees that the

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           Case 2:20-cv-02892-SHL-tmp Document 176-7 Filed 12/27/21 Page 18 of 20                      PageID
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            Company has the right to deduct from all payments hereunder any taxes required by law to be
            withheld with respect to such payments.

                    9.      Additional Limitation. Anything in this Agreement or in the Plan to the contrary
            notwithstanding, in the event that any compensation, payment or distribution by the Company to
            or for the benefit of the Participant, whether paid or payable or distributed or distributable
            pursuant to the terms of the this Agreement, the Plan or otherwise (the “Parachute Payments”),
            would be subject to the excise tax imposed by Section 4999 of the Code, then (a) any amounts
            payable to the Participant under this Plan shall be reduced (but not below zero) to the extent
            necessary so that the maximum Parachute Payments shall not exceed the Threshold Amount (the
            “Reduction Amount”) and (b) the Company shall use reasonable efforts to satisfy the shareholder
            approval requirements set forth in Q/A 7 of Treasury Regulations Section 1.280G-1 with respect
            to such Reduction Amount, and if such requirements are satisfied then such Reduction Amount
            shall become payable hereunder as if subsection (a) above had not applied thereto. For purposes
            of this Section, “Threshold Amount” shall mean three times the Participant’s “base amount”
            within the meaning of Section 280G(b)(3) of the Code and the regulations thereunder, less one
            dollar.

                     10.     Miscellaneous Provisions.

                           (a)    Change and Modifications. This Award Agreement may not be orally
            changed, modified or terminated, nor shall any oral waiver of any of its terms be effective. This
            Award Agreement may be changed, modified or terminated only by an agreement in writing
            signed by the Company and the Participant.

                           (b)     Entire Agreement. This Award Agreement together with the Plan (the
            terms of which are hereby incorporated by reference) are intended to be a final expression of the
            agreement between the Participant and the Company and are intended to be a complete and
            exclusive statement of the agreement and understanding between the Participant and the
            Company with respect to the subject matter contained herein. There are no restrictions,
            promises, representations, warranties, covenants or undertakings relating to such subject matter
            other than those referred to herein and in the Plan.

                            (c)      No Obligation to Continue Employment or Service. Neither the
            Company, HJ nor any of their subsidiaries is obligated by or as a result of the Plan or this Award
            Agreement to continue the Participant in employment or other service and neither the Plan nor
            this Award Agreement shall interfere in any way with the right of the Company, HJ or any of
            their subsidiaries to terminate the employment or service of the Participant at any time.

                           (d)     Governing Law. This Award Agreement shall be governed by and
            construed in accordance with the laws of the State of Delaware, without regard to principles of
            conflict of laws of such state.

                           (e)     Headings. The headings are intended only for convenience in finding the
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                            (f)     Saving Clause. If any provision(s) of this Award Agreement shall be
            determined to be illegal or unenforceable, such determination shall in no manner affect the
            legality or enforceability of any other provision hereof.

                           (g)     Counterparts. This Award Agreement may be executed in two or more
            counterparts, each of which shall be deemed an original, and all of which shall constitute one and
            the same document.




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                   The foregoing Award Agreement is hereby accepted and the terms and conditions thereof
            hereby agreed to by the undersigned as of the date first above written.

                                                                   VARSITY BRANDS HOLDING CO., INC.
                                                                           — DocuSigned by:

                                                                                        tmiiLM
                                                                   By: ___________________________________
                                                                          -FOS'56EOOCB14B7...

                                                                       Name:                
                                                                       Title:    

                                                                   Address:

                                                                   Varsity Brands Holding Co. Inc.
                                                                   4625 West 62nd Street
                                                                   Indianapolis, Indiana 46268


                   The foregoing Award Agreement is hereby accepted and the terms and conditions thereof
            hereby agreed to by the undersigned as of the date first above written.

                                                                   PARTICIPANT:
                                                                    — DocuSigned by:

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                                                                   _______________________________________
                                                                      D834EAABS DC548 7...
                                                                   Name: Marlene Cota

                                                                   Address:



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                                               [SIGNATURE PAGE TO COTA TIME AWARD GRANT]
